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              7 ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
                CORPORATION (incorrectly named and sued as “RBC WEALTH
              8 MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
                INC.”), and THE ROYAL BANK OF CANADA US WEALTH
              9 ACCUMULATION PLAN
             10
             11                      UNITED STATES DISTRICT COURT
             12                    CENTRAL DISTRICT OF CALIFORNIA
             13
                  STEVEN BENHAYON,                            Case No. CV08-06090 FMC(AGRx)
             14
                                  Plaintiff,                JOINT REPORT OF CONFERENCE
             15                                             OF PARTIES PURSUANT TO
                       v.                                   FEDERAL RULE OF CIVIL
             16                                             PROCEDURE 26(f)
                  ROYAL BANK OF CANADA, a
             17   Canadian company, business form
                  unknown; RBC WEALTH                         Date:        March 16, 2009
             18   MANAGEMENT COMPANY, formerly                Time:        9:00 a.m.
                  RBC DAIN RAUSCHER, INC.,                    DJ:          Florence-Marie Cooper
             19   business form unknown; THE ROYAL            Courtroom:   (Roybal) 750
                  BANK OF CANADA US WEALTH                    MJ:          Alicia G. Rosenberg
             20   ACCUMULATION PLAN, formerly                 Courtroom:   (Spring) 23
                  known as RBC Dain Rauscher Wealth
             21   Accumulation Plan; and, DOES 1              Trial Date: None
                  through 20,
             22
                                  Defendants.
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                                                                        CASE NO. CV08-06090 FMC(AGRx)
                                 JOINT REPORT OF CONFERENCE OF PARTIES PURSUANT TO
7073003_3                                FEDERAL RULE OF CIVIL PROCEDURE 26
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              1         Pursuant to Federal Rule of Civil Procedure 26(f) and Local Rule 26-1,
              2 plaintiff Steven Benhayon (“Plaintiff”) and defendants Royal Bank of Canada, the
              3 Royal Bank of Canada U.S. Wealth Accumulation Plan, and RBC Capital Markets
              4 Corporation (incorrectly named and sued as “RBC WEALTH MANAGEMENT
              5 COMPANY, formerly RBC DAIN RAUSCHER, INC.”), (collectively
              6 “defendants”), submit the following report of their conference:
              7         1. A conference between counsel of record for the parties was held on
              8 February 26, 2009.
              9         2. Pre-Discovery Disclosures: The parties agree that no changes should be
             10 made to the disclosures required under Federal Rule of Civil Procedure 26(a), and
             11 that the parties will make such disclosures on or before April 6, 2009.
             12         3. Need for Discovery: The parties anticipate discovery on the following
             13 subjects:
             14               a. The facts underlying plaintiff’s claim that “plaintiff was wrongfully

             15 terminated without cause or prior notice.”
             16               b. The facts underlying plaintiff’s claim that “Defendants wrongfully
             17 breached the Plan and denied Plaintiff the distribution he was entitled to under the
             18 Plan, all in violation of ERISA.”
             19               c. The facts underlying plaintiff’s claim that “Defendants wrongfully
             20 denied his distribution under the Plan and wrongfully terminated his employment to
             21 avoid paying Plaintiff benefits he was due under the Plan.”
             22               d. The facts underlying plaintiff’s claim that “Plaintiff exhausted all
             23 administrative remedies required under ERISA and any further attempt to resolve
             24 this matter would be futile”.
             25               e. The facts underlying plaintiff’s claim that Defendants “wrongfully
             26 terminated Plaintiff’s employment because of his age and to prevent him from
             27 receiving the distribution he was entitled to under the Plan.”
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              1               f. The facts underlying plaintiff’s claim that “Defendants terminated

              2 several employees over the age of forty immediately prior to them vesting in the
              3 Plan” and “in an attempt to prevent employees from receiving a distribution under
              4 the Plan.”
              5               g. The facts underlying plaintiff’s claims for economic and non-

              6 economic damages.
              7            h. The facts underlying plaintiff’s claims for liquidated damages.

              8               i. The facts underlying plaintiffs’ claims for punitive damages and

              9 attorney’s fees.
             10               j. Plaintiff’s mitigation of his alleged damages.

             11               k. The facts underlying each of Defendants’ affirmative defenses

             12 alleged in their Answer.
             13       4. Discovery Plan: The parties propose the following discovery plan:

             14               a. The parties will make their initial disclosures on April 6, 2009;

             15               b. Both parties may serve written discovery immediately. The time for

             16 responding to written discovery requests will be as provided in the Federal Rules of
             17 Civil Procedure;
             18               c. Defendants will take Plaintiff’s deposition on a mutually convenient

             19 date during the week of May 4, 2009;
             20              d. All written discovery and fact witness depositions, party and non-

             21 party, shall be completed no later than August 31, 2009;
             22               e. Expert discovery will be postponed until after the Court has ruled on

             23 Defendants’ expected motion(s) for summary judgment or summary adjudication,
             24 unless Defendant relies on expert testimony in support of those motions. If so, the
             25 Defendant agrees to meet and confer with Plaintiff in good faith and within a
             26 reasonable time before filing those motions regarding arrangements for discovery
             27 related to that expert testimony. If not, then the parties will meet and confer in good
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                                   JOINT REPORT OF CONFERENCE OF PARTIES PURSUANT TO
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              1 faith to develop a mutually agreeable schedule for completing expert discovery after
              2 the Court rules on Defendants’ motion, to the extent such discovery is needed.
              3                f. The parties do not presently propose any changes in the limitations
              4 on discovery imposed under the Rules or by Local Rule, without prejudice to any
              5 party’s right to seek such changes later either by stipulation or court order.
              6                g. Defendants contend that discovery on Plaintiff’s claim for benefits
              7 under the Wealth Accumulation Plan is limited to the administrative record, which
              8 will be included in Defendants’ initial disclosures. Plaintiff contends that such
              9 discovery requires more than the administrative record given Defendants’ assertion
             10 that the Wealth Accumulation Plan is not subject to ERISA, but that if it is, then it is
             11 exempt as a top hat plan. The determination of whether the top hat exemption
             12 applies is a quantitative and qualitative analysis, with such information not likely to
             13 be part of the administrative record, as Plaintiff understands that such record is
             14 limited to the plan itself and the Committee minutes. The parties will continue to
             15 meet and confer in an attempt to resolve this disagreement.
             16                h. The parties will cooperate to prepare a proposed protective order
             17 governing the disclosure of confidential information in discovery. The parties will
             18 present the proposed order to the court for approval in advance of the scheduling
             19 conference on March 16, 2009.
             20                i. Both parties have taken steps to preserve documentary and
             21 electronically-stored information relevant to the claims and defenses asserted in the
             22 pleadings. The parties agree that the electronically-stored information described
             23 below may be needed for discovery in this action. Defendants agree to preserve such
             24 information, to the extent it exists:
             25         •      Electronic documents prepared or reviewed by any employee of
             26                Defendants with decision-making authority regarding the September
             27                2007 reduction in force in Defendants’ Fixed Income Group in (the
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              1                 “RIF”) concerning (i) the scope of the RIF, (ii) the selection of offices
              2                 and employees to be eliminated in the RIF including but not limited to
              3                 the criteria used to identify those subject to the RIF, (iii) the timing of
              4                 the RIF, (iv) transfers of employees to other offices in connection with
              5                 the RIF, (v) employees included in the RIF that are over the age of 40,
              6                 (vi) categories/job title(s) of employees included in the RIF, (vii)
              7                 employees subject to the RIF that were participating in the Wealth
              8                 Accumulation Plan, (viii) employees subject to the RIF that were
              9                 eligible for a single lump sum distribution from the Wealth
             10                 Accumulation Plan in January 2008, (ix) the distribution amount from
             11                 the Wealth Accumulation Plan in January 2008, and (x) the projected
             12                 distribution amount from the Wealth Accumulation Plan in January
             13                 2008 without the benefit of the RIF.
             14         5. Motion Schedule: Defendants will file a motion for partial summary
             15 judgment on Plaintiff’s claim for benefits under the Wealth Accumulation Plan no
             16 later than May 29, 2009. Defendants will file a motion for summary judgment with
             17 respect to the remainder of Plaintiff’s claims no later than August 28, 2009.
             18         6. Complex Case: The parties do not believe this case is complex.
             19         7. Settlement: The parties are discussing and will continue to discuss the
             20 possibility of settlement. The parties agree to submit to SETTLEMENT
             21 PROCEDURE NO. 1 (the parties shall appear before the magistrate judge assigned
             22 to the case).
             23         8. Trial Estimate: The parties estimate that the trial in this matter will take
             24 between three and five days. Plaintiff has demanded a jury trial and seeks to try this
             25 case to a jury. Defendant contends that a jury trial is not available on any claim
             26 which arises under the Employee Retirement Income Security Act of 1974, 29
             27 U.S.C. § 1001 et seq.
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              1         9. Additional Parties/Amended Pleadings: The parties do not anticipate
              2 joinder of any additional parties at this time.
              3
              4 DATED: March 5, 2009                     OGLETREE, DEAKINS, NASH, SMOAK &
              5                                          STEWART P.C.
              6
              7                                         By:        /s/ Christopher Decker
                                                                       Christopher W. Decker
              8
              9                                          Attorneys for Defendants
                                                         ROYAL BANK OF CANADA, RBC
             10                                          CAPITAL MARKETS CORPORATION
                                                         (incorrectly named and sued as “RBC
             11                                          WEALTH MANAGEMENT COMPANY,
                                                         formerly RBC DAIN RAUSCHER, INC.”),
             12                                          and THE ROYAL BANK OF CANADA US
                                                         WEALTH ACCUMULATION PLAN
             13
             14
                  DATED: March 5, 2009                   BOHM, MATSEN, KEGEL & AGUILERA,
             15                                          LLP
             16
             17                                         By:        /s/ Kari Myron
             18                                                           Kari M. Myron
             19                                          Attorneys for Plaintiff
             20                                          Steven Benhayon

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